Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.125 Page 1 of 7




                 EXHIBIT 1




                                 Exhibit 1
                                    4
Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.126 Page 2 of 7




                             CERTIFICATION OF NAMED PLAINTIFF
                           PURSUANT TO FEDERAL SECURITIES LAWS

          I,   Anton Agoshkov, individually and on behalf of the Natissisa Enterprises Ltd.

  ("Movant/Plaintiff'), for which I am duly authorized to act, duly certify and say, as to the claims

  asserted under the federal securities laws, that:


          1.      Movant/Plaintiff has reviewed a complaint filed in this action.

          2.      Movant/Plaintiff did not purchase the security that is the subject of this action at

  the direction of plaintiffs counsel or in order to participate in this private action.

          3.      Movant/Plaintiff is willing to serve as a representative parly on behalf of the class,

  including providing testimony at deposition and trial, if necessary.

          4.      Movant/Plaintiff s transaction(s) in Illumina, Inc. securities which are the subject

  of this litigation during the class period are set forth in the chart attached hereto.

          5.      During the three years prior to the date of this Certification, Movant/Plaintiff has

  not participated, nor has sought to participate, as a representative in any class action suit in the

  United States District Courts under the federal securities laws.

          6.      Movant/Plaintiff has not received, been promised or offered, and will not accept,

  any form of compensation, directly or indirectly, for prosecuting or serving as a representative

  party in this class action, except for: (i) such damages or other relief    as the   Court may award to me

  as my pro rata share   of any recovery   or   judgment; (ii) such reasonable fees, costs or other payments

  as the Court expressly approves    to be paid to or on behalf of me; or (iii) reimbursement, paid by

  my attorneys, of actual or reasonable out-of-pocket expenditures incurred directly in connection

  with the prosecution of this action.

          I hereby certify, under penalty of perjury under the laws of the United          States of America,

  that the foregoing is true and correct. Executed this       lO   ,-dly of lamtary 2017.


                                  Anton Agoshkov, i                    and on behalf of Natissisa
                                  Enterprises Ltd.




                                                    Exhibit 1
                                                       5
    Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.127 Page 3 of 7


Natissisa Enterprises Ltd.
Transactions in Illumina, Inc. Securities
Class Period: July 26, 2016 and October 10, 2016, inclusive

Date of Transaction                                     Buy (B) or Sell (S)   Quantity Price ($)
                                            8/30/2016           B                  120 169.450
                                            8/30/2016           B                  100 169.450
                                            8/30/2016           B                  100 169.450
                                            8/30/2016           B                  100 169.460
                                            8/30/2016           B                  100 169.460
                                            8/30/2016           B                  100 169.460
                                            8/30/2016           B                  100 169.460
                                            8/30/2016           B                  280 169.460
                                            8/30/2016           B                  100 169.215
                                            8/30/2016           B                   62 169.310
                                            8/30/2016           B                  100 169.310
                                            8/30/2016           B                  738 169.310
                                            8/31/2016           B                  100 168.990
                                            8/31/2016           B                1,900 169.000
                                            8/31/2016           B                  500 169.150
                                            8/31/2016           B                  100 169.150
                                            8/31/2016           B                  100 169.150
                                            8/31/2016           B                   72 169.150
                                            8/31/2016           B                   41 169.150
                                            8/31/2016           B                3,147 169.150
                                            8/31/2016           B                   50 169.150
                                            8/31/2016           B                  500 169.150
                                            8/31/2016           B                1,400 169.150
                                            8/31/2016           B                   90 169.150
                                             9/1/2016           B                    1 167.200
                                             9/1/2016           B                  199 167.200
                                             9/1/2016           B                  800 167.200
                                             9/1/2016           B                  100 167.500
                                             9/1/2016           B                  100 167.590
                                             9/1/2016           B                  100 167.580
                                             9/1/2016           B                    5 167.560
                                             9/1/2016           B                  100 167.580
                                             9/1/2016           B                  100 167.580
                                             9/1/2016           B                  100 167.590
                                             9/1/2016           B                  100 167.580
                                             9/1/2016           B                  100 167.640
                                             9/1/2016           B                  195 167.590
                                             9/1/2016           B                  100 167.590
                                             9/1/2016           B                  100 167.500
                                             9/1/2016           B                  100 167.500
                                             9/1/2016           B                  100 167.580
                                             9/1/2016           B                  100 167.500


                                                  Exhibit 1
                                                     6
Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.128 Page 4 of 7


                             9/1/2016        B           100   167.580
                             9/1/2016        B           100   167.500
                             9/1/2016        B           100   167.580
                             9/1/2016        B           100   167.560
                             9/1/2016        B           100   167.580
                             9/1/2016        B             1   167.590
                             9/1/2016        B             6   167.590
                             9/1/2016        B           693   167.590
                             9/1/2016        B           100   167.510
                             9/1/2016        B           100   167.590
                             9/1/2016        B           100   167.640
                             9/1/2016        B         2,000   167.560
                             9/2/2016        B           100   169.600
                             9/2/2016        B           900   169.630
                             9/2/2016        B           100   169.535
                             9/2/2016        B         1,200   169.680
                             9/2/2016        B            52   169.670
                             9/2/2016        B            60   169.610
                             9/2/2016        B           100   169.680
                             9/2/2016        B           100   169.700
                             9/2/2016        B             2   169.700
                             9/2/2016        B             2   169.700
                             9/2/2016        B           200   169.700
                             9/2/2016        B            98   169.700
                             9/2/2016        B            86   169.700
                             9/6/2016        B           100   169.770
                             9/6/2016        B           100   169.750
                             9/6/2016        B           100   169.780
                             9/6/2016        B           100   169.780
                             9/6/2016        B           130   169.800
                             9/6/2016        B           100   169.750
                             9/6/2016        B            70   169.850
                             9/6/2016        B           100   169.780
                             9/6/2016        B           100   169.770
                             9/6/2016        B            50   169.800
                             9/6/2016        B           100   169.780
                             9/6/2016        B             1   169.800
                             9/6/2016        B             1   169.790
                             9/6/2016        B           100   169.830
                             9/6/2016        B            99   169.800
                             9/6/2016        B           300   169.850
                             9/6/2016        B            49   169.850
                             9/6/2016        B           100   169.780
                             9/6/2016        B           100   169.800
                             9/6/2016        B           100   169.760
                             9/6/2016        B           100   169.780
                             9/6/2016        B           100   170.230


                                 Exhibit 1
                                    7
Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.129 Page 5 of 7


                             9/6/2016        B          100   170.250
                             9/6/2016        B          100   170.230
                             9/6/2016        B          100   170.230
                             9/6/2016        B          130   170.260
                             9/6/2016        B          300   170.290
                             9/6/2016        B          100   170.310
                             9/6/2016        B          100   170.320
                             9/6/2016        B          100   170.340
                             9/6/2016        B          100   170.230
                             9/6/2016        B           30   170.260
                             9/6/2016        B          100   170.230
                             9/6/2016        B          100   170.230
                             9/6/2016        B          100   170.340
                             9/6/2016        B          100   170.340
                             9/6/2016        B          100   170.350
                             9/6/2016        B          100   170.360
                             9/6/2016        B          100   170.340
                             9/6/2016        B          100   170.340
                             9/6/2016        B          400   170.340
                             9/6/2016        B          100   170.340
                             9/6/2016        B          100   170.340
                             9/6/2016        B           78   170.350
                             9/6/2016        B          100   170.350
                             9/6/2016        B           62   170.370
                             9/6/2016        B          100   170.370
                             9/7/2016        B          100   168.940
                             9/7/2016        B            2   168.910
                             9/7/2016        B          100   168.930
                             9/7/2016        B          100   168.920
                             9/7/2016        B            1   168.930
                             9/7/2016        B          100   168.900
                             9/7/2016        B           50   168.910
                             9/7/2016        B          100   168.930
                             9/7/2016        B          100   168.940
                             9/7/2016        B          100   168.960
                             9/7/2016        B           50   168.990
                             9/7/2016        B          100   169.000
                             9/7/2016        B          100   169.000
                             9/7/2016        B            2   169.000
                             9/7/2016        B          195   169.000
                             9/7/2016        B           37   169.000
                             9/7/2016        B          100   169.000
                             9/7/2016        B           98   169.000
                             9/7/2016        B           12   169.000
                             9/7/2016        B          251   169.000
                             9/7/2016        B          100   169.000
                             9/7/2016        B           15   169.000


                                 Exhibit 1
                                    8
Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.130 Page 6 of 7


                             9/7/2016        B          100   169.000
                             9/7/2016        B           87   169.000
                             9/7/2016        B          100   169.510
                             9/7/2016        B            1   169.460
                             9/7/2016        B            2   169.470
                             9/7/2016        B            1   169.480
                             9/7/2016        B          100   169.470
                             9/7/2016        B           40   169.450
                             9/7/2016        B           25   169.450
                             9/7/2016        B          100   169.470
                             9/7/2016        B          100   169.470
                             9/7/2016        B          100   169.520
                             9/7/2016        B          100   169.640
                             9/7/2016        B          100   169.620
                             9/7/2016        B          100   169.550
                             9/7/2016        B           98   169.580
                             9/7/2016        B          100   169.610
                             9/7/2016        B          100   169.610
                             9/7/2016        B          100   169.610
                             9/7/2016        B          100   169.820
                             9/7/2016        B          100   169.680
                             9/7/2016        B          100   169.690
                             9/7/2016        B          100   169.710
                             9/7/2016        B          100   169.750
                             9/7/2016        B          100   169.720
                             9/7/2016        B          100   169.680
                             9/7/2016        B           33   169.720
                             9/7/2016        B          100   169.420
                             9/7/2016        B          100   169.370
                             9/7/2016        B          100   169.380
                             9/7/2016        B           98   169.410
                             9/7/2016        B            1   169.360
                             9/7/2016        B            3   169.380
                             9/7/2016        B          100   169.380
                             9/7/2016        B            1   169.380
                             9/7/2016        B          100   169.400
                             9/7/2016        B          100   169.430
                             9/7/2016        B          100   169.500
                             9/7/2016        B          100   169.480
                             9/7/2016        B          100   169.500
                             9/7/2016        B          100   169.480
                             9/7/2016        B          100   169.550
                             9/7/2016        B          100   169.570
                             9/7/2016        B          100   169.580
                             9/7/2016        B           97   169.580
                             9/7/2016        B          100   169.580
                             9/7/2016        B          100   169.580


                                 Exhibit 1
                                    9
Case 3:16-cv-03044-L-KSC Document 5-3 Filed 02/14/17 PageID.131 Page 7 of 7


                             9/7/2016        B          100   169.590
                             9/7/2016        B          100   169.580
                             9/7/2016        B          100   169.580




                                 Exhibit 1
                                   10
